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                      IN THE UNITED STATES DISTRICT COURT

                            FOR THE DISTRICT OF KANSAS



UNITED STATES OF AMERICA,

                      Plaintiff,
        vs.                                   Case No.      11-40044-11-RDR

ARNULFO PRADO-CERVANTEZ,

                      Defendant.


                                      O R D E R

        This   case    is   before    the   court    upon   defendant’s        pro   se

“‘Affidavit’ [-] Notice of Challenge of Jurisdiction For Lack of

Access to Article III Courts.”              Doc. No. 217.            The court shall

treat     this   pleading      as    a   motion     to   dismiss       for   lack    of

jurisdiction.     Defendant has filed several such challenges in this

case.

        Defendant appears to claim in this document that this court is

not an Article III court which has jurisdiction to consider the

charges against defendant.            This is incorrect.       In U.S. v. Chisum,

502 F.3d 1237, 1243 (10th Cir. 2007) cert. denied, 552 U.S. 1211

(2008), the Tenth Circuit rejected a similar challenge stating:

              Mr. Chisum contends that the district court erred in
        denying his motions to dismiss for lack of jurisdiction.
        He claims that the federal district court for the Eastern
        District of Oklahoma is “incapable of acting by Article
        III judicial powers within the State of Oklahoma’s
        sovereign territory and without the federal zone.” . . .
        We rejected this “hackneyed tax protester refrain” 17
        years ago in United States v. Collins, 920 F.2d 619, 629
        (10th Cir. 1990), and we do so again today. The district
        court did not err in denying Mr. Chisum’s motions to
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     dismiss for lack of jurisdiction.

See also, Smith v. Kitchen, 156 F.3d 1025, 1029-30 (10th Cir. 1997)

(rejecting what appears to be a similar argument “cobbled together

[from] stray quotations” and finding that the district court for

the District of Colorado is an Article III court); U.S. v. Dawes,

161 Fed.Appx. 742 at *1 (10th Cir. 2005) (in appeal from the

District of Kansas, Tenth Circuit states that the district court

judge was “an Article III judge” and that the “district court did

have Article III judicial power”).

     Based upon this authority and the previous orders from this

court which have rejected defendant’s jurisdictional challenges,

the court shall deny defendant’s motion to dismiss.

     IT IS SO ORDERED.

     Dated this 15th day of December, 2011 at Topeka, Kansas.


                                  s/Richard D. Rogers
                                  United States District Judge




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